                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                              Case No.: 7:13-cv-145-F

LISA COOPER,                                 )
                                             )
                                             )
                    Plaintiff,               )
                                             )
v.                                           )
                                             )
                                             )
                                             )
                                             )
THE SMITHFIELD PACKING                       )
COMPANY, INC.,                               )
                                             )
                    Defendant.               )


                        DEFENDANT’S ANSWER TO PLAINTIFF’S
                           FOURTH AMENDED COMPLAINT

       COMES NOW Defendant, Smithfield Farmland Corp.1 (“Defendant” or “Smithfield”)

hereby responds to the numbered allegations of the Fourth Amended Complaint filed by Plaintiff

Lisa Cooper (“Plaintiff” or “Cooper”) as follows:

       1.      Defendant admits that this action is brought by a female citizen of Roberson

County, North Carolina, and that Plaintiff is seeking declaratory relief and damages for alleged

discrimination in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq.,

but denies any allegation, express or implied, contained in paragraph 1 of the Fourth Amended

Complaint, and denies that Plaintiff is entitled to any relief or that Defendant has engaged in any

unlawful conduct.

       1
            Plaintiff’s pleading incorrectly identifies Defendant as “The Smithfield Packing
Company, Inc.” On April 28, 2014, Defendant, The Smithfield Packing Company, Incorporated,
merged with Farmland Foods, Inc. The name of the merged corporation, which is now reflected
in the initial paragraph, is “Smithfield Farmland Corp.”
                                                 1

            Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 1 of 10
       2.      Defendant admits that jurisdiction over this matter is properly vested in this

Court, but denies any allegation, express or implied, contained in paragraph 2 of the Fourth

Amended Complaint that Plaintiff is entitled to any remedy or relief under Title VII of the Civil

Rights Act of 1964, 42 U.S.C. §2000e et seq., as amended by the Civil Rights Act of 1991, or

under 42 U.S.C. § 1981, as a result of any conduct by Defendant.

       3.      Defendant admits that jurisdiction over this matter is properly vested in this

Court, but denies any allegation, express or implied, contained in paragraph 3 of the Fourth

Amended Complaint that defendant has committed any illegal act in violation of the rights

secured to Plaintiff under federal law.

       4.      For the reasons set forth in its motion to dismiss Plaintiff’s Third Amended

Complaint, and the supporting memoranda of law, Defendant denies the allegations contained in

paragraph 4 of the Fourth Amended Complaint and its subparts.

       5.      Defendant admits the allegations contained in paragraph 5 of the Fourth Amended

Complaint.

       6.      Defendant denies the commission of any unlawful practices alleged by Plaintiff

and, as a result, denies the allegations contained in paragraph 6 of the Fourth Amended

Complaint.

       7.      Defendant admits the allegations contained in paragraph 7 of the Fourth Amended

Complaint.

       8.      Defendant admits that Plaintiff began her employment with Defendant in

December of 1995, and that she last held the position of Supervisor. Defendant denies the

remaining allegations contained in paragraph 8 of the Fourth Amended Complaint.




                                               2

            Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 2 of 10
       9.      Defendant denies the allegations contained in paragraph 9 of the Fourth Amended

Complaint.

       10.     Defendant denies the allegations contained in paragraph 10 of the Fourth

Amended Complaint.

       11.     Defendant denies the allegations contained in paragraph 11 of the Fourth

Amended Complaint.

       12.     Defendant denies the allegations contained in paragraph 12 of the Fourth

Amended Complaint.

       13.     Defendant denies the allegations contained in paragraph 13 of the Fourth

Amended Complaint.

       14.     Defendant denies the allegations contained in paragraph 14 of the Fourth

Amended Complaint.

       15.     Defendant denies the allegations contained in paragraph 15 of the Fourth

Amended Complaint.

       16.     Defendant denies the allegations contained in paragraph 16 of the Fourth

Amended Complaint.

       17-19. Paragraphs 17-19 of the Fourth Amended Complaint were deleted by Plaintiff in

compliance with this Court’s Order [DE33] dated August 14, 2015, and require no substantive

response from Defendant.

       20.     Defendant denies the allegations contained in paragraph 20 of the Fourth

Amended Complaint.

       21.     Defendant denies the allegations contained in paragraph 21 of the Fourth

Amended Complaint.



                                              3

            Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 3 of 10
       22.     Defendant denies the allegations contained in paragraph 22 of the Fourth

Amended Complaint.

       23.     Defendant admits that Plaintiff requested a job transfer on or about July 18, 2011,

but denies the remaining allegations contained in paragraph 23 of the Fourth Amended

Complaint.

       24.     Defendant admits that on or about July 18, 2011, Plaintiff notified Jamie Pope she

believed Tommy Lowery behaved inappropriately towards her. Further answering, Defendant

states that Plaintiff indicated she intended to voluntarily resign her employment that same day.

Defendant denies the remaining allegations contained in paragraph 24 of the Fourth Amended

Complaint.

       25.     Defendant is without information sufficient to form a belief as to the truth of the

allegations contained in paragraph 25 of the Fourth Amended Complaint and, thus, denies those

allegations.

       26.     Defendant admits that Plaintiff voluntarily resigned her employment on or about

July 19, 2011. Defendant denies the remaining allegations contained in paragraph 26 of the

Fourth Amended Complaint.

       27.     Defendant denies the allegations contained in paragraph 27 of the Fourth

Amended Complaint.

       28.     Defendant denies the allegations contained in paragraph 28 of the Fourth

Amended Complaint.

       29.     Defendant denies the allegations contained in paragraph 29 of the Fourth

Amended Complaint.




                                                4

          Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 4 of 10
        30.      Defendant denies the allegations contained in paragraph 30 of the Fourth

Amended Complaint.

        31.      Defendant denies the allegations contained in paragraph 31 of the Fourth

Amended Complaint.

        32.      Defendant is without information sufficient to form a belief as to the truth of the

allegations contained in paragraph 32 of the Fourth Amended Complaint and, thus, denies those

allegations.

        33.      Defendant denies the allegations contained in paragraph 33 of the Fourth

Amended Complaint.

        34.      Defendant denies the allegations contained in paragraph 34 of the Fourth

Amended Complaint.

        Defendant denies the allegations contained in Count Two following paragraph 34 of the

Fourth Amended Complaint.

        Defendant denies that Plaintiff is entitled to any of the relief requested in the

“WHEREFORE” paragraph following Count Two2 of the Fourth Amended Complaint, and

further denies that Plaintiff is entitled to any relief whatsoever.

        Unless expressly admitted herein, Defendant denies the allegations and relief requested in

the Fourth Amended Complaint.

                                         FIRST DEFENSE

        The Fourth Amended Complaint fails to state a claim against Defendant upon which

relief can be granted under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.




        2
            Plaintiff’s Fourth Amended Complaint contains no other counts or causes of action.
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             Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 5 of 10
§ 2000e et seq. (hereinafter “Title VII”), because Defendant’s treatment of Plaintiff was at all

times based on factors other than Plaintiff’s gender.

                                        SECOND DEFENSE

       The Fourth Amended Complaint improperly alleges facts and claims not presented in the

administrative proceedings from which Plaintiff’s claim arises.

                                        THIRD DEFENSE

       Plaintiff is not entitled to some or all of the relief requested in the Complaint because

Defendant’s actions were not malicious, egregious, in bad faith, or in willful or reckless

indifference or disregard of any legal rights of Plaintiff.

                                       FOURTH DEFENSE

       Some or all of Plaintiff’s claims are barred because Defendant maintained, disseminated

and enforced a clear policy against harassment establishing reasonable and effective means of

reporting and seeking relief from conduct believed to be harassing and because Defendant acted

in accordance with this policy at all times.

                                         FIFTH DEFENSE

       Some or all of Plaintiff’s claims are barred because Defendant exercised reasonable care

to prevent the type of misconduct alleged in the Complaint and took prompt remedial action to

stop and/or correct any such conduct.

                                         SIXTH DEFENSE

       Even if any alleged harassment, discrimination, or retaliation occurred, which Defendant

denies, some or all of Plaintiff’s claims are barred to the extent she failed to put Defendant on

notice of the alleged misconduct in a timely manner, failed to take advantage of preventative or




                                                   6

          Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 6 of 10
corrective opportunities provided by Defendant, and failed to provide Defendant a reasonable

opportunity to stop or correct the alleged misconduct and/or to remedy the alleged harm.

                                     SEVENTH DEFENSE

       Some or all of Plaintiff’s claims are barred because, to the extent Plaintiff reported any

alleged harassment, discrimination, or retaliation, Defendant promptly investigated the report

and took prompt and appropriate remedial action.

                                      EIGHTH DEFENSE

       Plaintiff’s claims are barred to the extent she consented to the alleged conduct claimed to

be sexual harassment by Defendant’s employee and to the extent that the alleged conduct by

Defendant’s employee was not unwelcome by Plaintiff.

                                       NINTH DEFENSE

       Plaintiff’s claims are barred in whole or in part because the alleged wrongful acts of

Defendant’s employee(s) were outside the course and scope of employment of such employee(s),

were not in furtherance of Defendant’s business, and were contrary to Defendant’s good faith

efforts to comply with all applicable laws.

                                       TENTH DEFENSE

       Plaintiff is not entitled to some or all of the relief requested in the Fourth Amended

Complaint because, even if any unlawful discrimination or harassment occurred, which

Defendant denies, such conduct was prohibited by Defendant’s policies and was not committed,

countenanced, ratified, or approved by higher management in Defendant’s corporate structure.

                                    ELEVENTH DEFENSE

       Plaintiff is not entitled to some or all of the relief requested in the Fourth Amended

Complaint because, even if any unlawful discrimination or harassment occurred, which



                                                7

          Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 7 of 10
Defendant denies, such conduct was not within the actual or constructive knowledge of higher

management in Defendant’s corporate structure.

                                     TWELFTH DEFENSE

       Plaintiff is not entitled to some or all of the relief requested in the Fourth Amended

Complaint because, even if any unlawful discrimination or harassment occurred, which

Defendant denies, the damages alleged in the Fourth Amended Complaint are speculative.

                                   THIRTEENTH DEFENSE

       Plaintiff is not entitled to some or all of the relief requested in the Fourth Amended

Complaint because, even if any unlawful discrimination or harassment occurred, which

Defendant denies, Plaintiff failed to mitigate her damages, if any.

                                  FOURTEENTH DEFENSE

       Plaintiff is not entitled to some or all of the relief requested in the Fourth Amended

Complaint because, even if any unlawful discrimination or harassment occurred, which

Defendant denies, some or all of Plaintiff’s damages were the result of her failure to notify

Defendant of the alleged misconduct of its employee in a timely manner, and/or by the doctrine

of laches.

                                    FIFTEENTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, and/or Plaintiff is not entitled to some or

all of the relief requested in the Fourth Amended Complaint, by and based on the doctrines of

unclean hands, waiver, estoppel and/or release.

              RESERVATION AND NON-WAIVER OF FURTHER DEFENSES

       Defendant intends to rely upon all other proper defenses lawfully available that may be

disclosed by evidence or revealed through discovery, and reserves the right to amend this



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             Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 8 of 10
Answer to state such defenses. Defendant further reserves the right to amend to add any

counterclaims that may become known during the course of discovery.

                                    PRAYER FOR RELIEF

WHEREFORE, Defendant prays:

       That the above answer be deemed good and sufficient and, after due proceedings are had

herein, there be judgment in favor of Defendant and against Plaintiff, rejecting all of Plaintiff’s

demands for relief from Defendant and dismissing Plaintiff’s claims against Defendant with

prejudice, at the sole cost of Plaintiff; and for such other and further relief to which it may be

entitled in law and in equity.

       Dated: September 11, 2015

                                             SMITHFIELD FARMLAND CORP.


                                              /s/ Melissa A. Romanzo
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                                             Counsel for Defendant Smithfield Farmland
                                             Corp.




                                                9

          Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 9 of 10
                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of September, 2015, a true and correct copy of

the foregoing was filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to the following:

       Angela Newell Gray, Esq.
       7 Corporate Center Court, Suite B
       Greensboro, NC 27408
       angela@graynewell.com
       Attorney for Plaintiff

                                                /s/ Melissa A. Romanzo
                                                Melissa A. Romanzo




                                                  10

         Case 7:13-cv-00145-FL Document 35 Filed 09/11/15 Page 10 of 10
